Case 4:19-cv-00415-ALM Document 100 Filed 02/10/22 Page 1 of 3 PageID #: 2389




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


UNITED STATES OF AMERICA,                        )
          Plaintiff,                             )
                                                 )       Case No. 4:19-cv-00415
v.                                               )
                                                 )       Filed Electronically
ALEXANDRU BITTNER,                               )
         Defendant.                              )


                                      JOINT STATUS REPORT

       Defendant, Alexandru Bittner and Plaintiff the United States of America (collectively, the

“Parties”), pursuant to the Court’s February 1, 2022 order (Dkt. 99) file this joint status report as

follows:


       1.        As the Court noted in its order, the Fifth Circuit reversed this Court’s decision

regarding computation of the $10,000 penalty under 31 U.S.C. § 5321(a)(5)(C). As a result of

this decision, Mr. Bittner has engaged additional counsel in order to seek Supreme Court

consideration.

       2.        Mr. Bittner’s deadline to file a petition for a writ of certiorari is February 28,

2022. Notably, as a result of the Fifth Circuit decision there is a split of authority between the

circuit courts. See United States v. Bittner, 19 F.4th 734, 738 (5th Cir. 2021); United States v.

Boyd, 991 F.3d 1077, 1079 (9th Cir. 2021). Based on this circuit split, the the Supreme Court

could grant Mr. Bittner’s petition.

       3.        Thus, the Parties respectfully request that the Court stay this case until the

Supreme Court issues a decision regarding Mr. Bittner’s petition for a writ of certiorari. Further,




CLARKHILL\B6544\A63010\265704793.v2-2/9/22
Case 4:19-cv-00415-ALM Document 100 Filed 02/10/22 Page 2 of 3 PageID #: 2390




should the petition be granted, the Parties will file a motion for an extended stay until the

Supreme Court issues their ultimate decision.


   Dated: February 10, 2022                           Respectfully submitted,


                                                      By: /s/ Farley P. Katz
                                                      FARLEY P. KATZ, LEAD ATTORNEY
                                                      State Bar No. 11108790
                                                      FKatz@clarkhill.com
                                                      RACHAEL RUBENSTEIN
                                                      State Bar No. 24073919
                                                      RRubenstein@clarkhill.com

                                                      CLARK HILL
                                                      2301 Broadway Street
                                                      San Antonio, Texas 78215
                                                      210-250-6006 Ph.
                                                      210-258-2714 Fax

                                                      ATTORNEYS FOR DEFENDANT


                                                      RICHARD E. ZUCKERMAN
                                                      Principal Deputy Assistant Attorney General

                                                      By: /s/ Herbert W. Linder
                                                      HERBERT W. LINDER
                                                      Ohio Bar No. 0065446
                                                      Attorneys, Tax Division
                                                      U.S. Department of Justice
                                                      717 N. Harwood St., Suite 400
                                                      Dallas, Texas 75201
                                                      Phone: (214) 880-9754/2432
                                                      Fax (214) 880-9741
                                                      herbert.w.linder@usdoj.gov

                                                      ATTORNEYS FOR UNITED STATES




                                                  2
CLARKHILL\B6544\A63010\265704793.v2-2/9/22
Case 4:19-cv-00415-ALM Document 100 Filed 02/10/22 Page 3 of 3 PageID #: 2391




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 10, 2022, a true and correct copy of the
foregoing was electronically filed with the Clerk of Court using the CM/ECF system, which will
send notification of such filing to the following:

               Herbert W. Linder
               Mary E. Smith
               Attorney, Tax Division
               United States Department of Justice
               717 N. Harwood, Suite 400
               Dallas, Texas 75201
               Herbert.W.Linder@usdoj.gov
               Mary.E.Smith@usdoj.gov
               Attorneys for Plaintiff,
               United States

                                                     /s/Rachael Rubenstein
                                                     RACHAEL RUBENSTEIN




                                               3
CLARKHILL\B6544\A63010\265704793.v2-2/9/22
